         Case 19-30014          Doc 15 Filed 05/15/19 Entered 05/15/19 16:45:25             Desc Order
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                                     UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF MASSACHUSETTS


In Re:     Jean I. Tranghese,                                   Chapter: 7
           Debtor                                               Case No: 19−30014
                                                                Judge Elizabeth D. Katz



                                       ORDER DISCHARGING TRUSTEE
                                           AND CLOSING CASE




It is hereby ORDERED that Gary M. Weiner, the Trustee is discharged from any further duties herein and that this
case is hereby closed pursuant to 11 U.S.C. § 350(a).




Date:5/15/19                                                    By the Court,

                                                                Elizabeth D. Katz
                                                                U.S. Bankruptcy Judge
